        Case: 1:19-cr-00623 Document #: 1 Filed: 08/01/19 Page 1 of 18 PageID #:1                    (L



FELED                        UNITED STATES DISTRICT COURT
  CI-AUG   -1   2019         NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

",.rJ[?,KBBr'fi8TS'*i
   UNIITED STATES OF AMERICA                   )
                                               )
                                                          No.     I9CR 623
                 V.                            )          Violations: Title 18, United States
                                               )          Code, Sections 371and 1035, and Title
   THOMAS E. CULLERTON                         )          29, United States Code, Section 501

                                                                   lruDGE cEnLEMAt{
                                                                                  JI'DGE ROUUIAI'O
                                         COUNT     ONE MAGISIRATE
           THE SPECIAL DECEMBER 2017 GRAND JURY charges:

           1.     At times material to this indictment:

                       Defendant and Illinois State Reporting Requirements

                      a.   Defendant THOMAS E. CULLERTOI.T was         a   resident of Villa Park,

   Iliinois, was elected as an Illinois State Senator on or about November 6,20L2, and

   assumed this office on or about January 9, 2013.

                  b.       As an elected official, CULLERTON was required by law               to

   annually file a "statement of Economic Interests" with the Illinois Secretary of State,

   which would disclose, among other things, certain income reeeived by CULLERTON

   during the prior calendar year, as well as the nature and source of such income. An

   elected official that filed a Statement of Economic Interests was required to veriSr that

   the information contained in the filing was true, correct and complete.
       Case: 1:19-cr-00623 Document #: 1 Filed: 08/01/19 Page 2 of 18 PageID #:1




                       Teamsters Union Entities and Individual

                     The International Brotherhood of Teamsters was             a   "labor

organization" within the meaning of Title 29, United States Code, Sections 402(i) and

402q)that represented and actively sought to represent employees of employers engaged

in industries affecting interstate commerce for the purpose of dealing with          such

employers concerning their employees' wages, hours, and other conditions of

employment. The International Brotherhood of Teamsters issued charters to            loca1


unions and joint councils of local unions affiliated with the International Brotherhood of

Teamsters.

               d.    Teamsters Joint Council 25,with offlces in Park Ridge, Illinois, was

a   joint council affiliated with the International Brotherhood of Teamsters and was     a


"labor organization" within the meaning of Title 29, United States Code, Sections 402(i)

and   402(j). Teamsters Joint Council 25 represented and actively sought to represent

employees of employers engaged in industries affecting interstate commerce including

more than approximately 100,000 International Brotherhood of Teamsters members in

the Chicago area and northwest Indiana region, and had approximately 26local union

affiliates. The vast majority of the annuai   expenses of the Teamsters Joint Council 25

were funded by a "per capita tax" paid to Teamsters Joint Council ZSbyits affiliated local

unions and their members.

               e.    Teamsters Joint Council 25 employed individuals known              as


"organizets," whose duties included recruiting new members          to the International
Brotherhood of Teamsters and supporting labor strikes and picketing activities on behalf
       Case: 1:19-cr-00623 Document #: 1 Filed: 08/01/19 Page 3 of 18 PageID #:1




of Teamsters union members. Employees of Teamsters Joint Council 25, including

organizers, were paid twice a month, and their saiaries were funded in part by the "per

capita tax" paid by the local unions affiliated with Joint Council 25 andtheir members.

                f.     Teamsters Local Union 734, with offices in Chicago, Illinois, was

issued   a   charter by the International Brotherhood of Teamsters, and was a "labor

organtzation" within the meaning of Title 29, United States Code, Sections 402(i) and,

402(i which represented and actively sought to represent employees of employers

engaged      in industries affecting interstate commerce as the local union body through

which such employees enjoyed membership and became affiliated with the International

Brotherhood of Teamsters.

                 g.    Teamsters Local Union 734 Health and Welfare Fund, sometimes

referred to as the Local 734 Welfare Fund, was an employee welfare benefit plan subject

to Title I of the Employee Retirement Income Security Act (hereinafber, "ERISA"), that

was established and maintained by an employee organization representing employees

engaged      in interstate   commerce and    in industries and activities affecting interstate

commerce for the purpose of providing employee welfare benefits to the members of

Teamsters Local lJnion 734 and other eligible employees as participants in accordance

with documents governing the plan, commonly known as the Local           734   Health & Welfare

EIN:   g6-2272414 Plan No. 501 (the "health and welfare      plan").   The Health and Welfare

Fund, as operated consistent with the health and welfar:e pIan, was a private plan

affecting commerce under which medical benefits, items and services were provided to

individuals, and constituted    a   health care benefit program within the meaning of Title 18,
     Case: 1:19-cr-00623 Document #: 1 Filed: 08/01/19 Page 4 of 18 PageID #:1




United States Code, Section 24(b). The Health and Welfare Fund provided plan

participants and their families with medical benefits. Employers who entered into

collective bargaining and other agreements with Teamsters Local Union 734 were

contractually required to make contributions to the Health and Welfare Fund for the

benefit of their employees who were members of Teamsters Local Union 734 and other

eligible participants in the Health and Welfare      Fund. In      order to be an eligible

participant and receive payments from the Health and Welfare Fund as an active

employee, the health and welfare plan required, among other things, that an employee

be regularly scheduled to work at least   thirty hours per week.

              h.    Teamsters Local Union 734 Pension Fund was an employee pension

beneflt plan subject to Title   I   of ERISA, that was established and maintained by an

employee organization representing employees engaged in interstate commerce and in

industries and activities affecting interstate commerce for the purpose of providing

retirement benefits for such employees as members of Teamsters Local Union 734 and

other eligible participants in the plan in accordance with documents governing the plan,

commonly known as the Local 734 Pension Fund          EIN:   XX-XXXXXXX Plan No. 001 (the

"pension   plan"). The Pension Fund, as operated       consistent with the pension plan,

provided plan participants with retirement       beneflts. Employers who entered into
collective bargaining and other agreements with Teamsters Local Union 734 were

contractually required to make contributions to the Pension Fund for the benefit of their

employees who were members            of Teamsters Local Union 734 and other       eligible

participants in the Pension   Fund. In order to accrue   additional benefits on an ongoing
     Case: 1:19-cr-00623 Document #: 1 Filed: 08/01/19 Page 5 of 18 PageID #:1




basis from the Pension Fund through continued employment, known as "benefit service,"

the pension plan required an employee to work at least twenty-two weeks ayear.

             i.     Before assuming offlce as an Illinois State Senator, CULLERTON

worked at Company A and was a member of Teamsters Local Union 734. However,

shortly after CULLERTON was elected to the Illinois Senate on or about November           6,


1;IL,CULLERTON's employment with Company A was terminated, and due to the

termination of his employment with Company A, CULLERTOI{ was no longer an

eligible participant in the Teamsters Local Union 734 Health and Welfare Fund and could

no longer accrue additional benefit service foom the Teamsters Local Union 734 Pension

Fund.

             j.     Individual A was the President of Teamsters Joint Council2S.

        2.    Beginning in or around 2013 and continuing to in or around February 2016,

in the Northern District of Illinois, Eastern Division, and elsewhere,

                              THOMAS E. CULLERTON,

defendant herein, did knowingly conspire     with Individual A and others known         and

unknown to the Grand Jury to:

              a.     embezzle, steal, and unlawfully and   wilifully abstract and convert to

his own use, the moneys, funds, property, and other assets of a labor organization,

namely, Teamsters Joint Council 25,by which he was employed, in violation of Title 29,

United States Code, Section 501(c); and

              b.     embezzle,steal, and unlawfully and willfully abstract and convert to

his own use and the use of others, the moneys, funds, securities, premiums, credits,
     Case: 1:19-cr-00623 Document #: 1 Filed: 08/01/19 Page 6 of 18 PageID #:1




property, and other assets of an employee welfare benefit plan and an employee pension

benefit plan, and of a fund connected therewith, namely, the Teamsters Local Union 734

Health and Welfare Fund and the Teamsters Local Union 734 Pension Fund, in violation

of Title 18, United States Code, Section 664.

      3.      It   was part of the conspiracy that in or around March 2013, CULLERTOII

was hired by Individual A as a purported fuil-time salaried employee and organizer of

Teamsters Joint Council 25 forthe purpose of CULLERTON obtaining money and other

employee benefits from Teamsters Joint Council 25, the Teamsters Local Union 734

Health and Welfare Fund, and the Teamsters Local Union 734 Pension Fund to which

CULLERTON was not entitled.

      4.      It   was further part of the conspiracy that   in or around March     2013,

Individual A caused Teamsters Joint Council25 to enter into a participation agreement

with the Teamsters Local Union 734Health and Welfare Fund and the Teamsters Local

Union 734 Pension Fund, whereby Teamsters Joint Council 25 agreed to make

contributions to the Teamsters Locai Union 734 Health and Welfare Fund and the

Teamsters Local Union 734 Pension Fund for selected employees, thereby enabling

CULLERTON to continue to be eligibte to receive employee welfare and pension

benefits from these empioyee beneflt plans on the false pretense that he had legitimate

full-time employment with Teamsters Joint Council     25.   As part of this participation

agreement, Joint Council 25 agreed      to maintain complete and accurate records to
substantiate the employment of those covered by the agreement, such as CULLERTON.
     Case: 1:19-cr-00623 Document #: 1 Filed: 08/01/19 Page 7 of 18 PageID #:1




      5.     It was further part of the conspiracy that Individual A caused salary
payments to be made by Teamsters Joint Council 25 to CULLERTON, even though

Individuai A well knew that CULLERTON was doing tittle or no work for Teamsters

Joint Council25 during each pay period he was paid full-time salary as an organizet.

      6.     It   was further part of the conspiracy that CULLERTON was paid             a


monthly car and telephone allowance by Teamsters Joint Council 25, even though

CULLERTON did tittle or no work for Teamsters Joint Council 25 during each month

CULLERTON was paid such car and teiephone aliowances:

      7.     It   was further part of the conspiracy that CULLERTON was paid a bonus

in or around December 2013, December 2014, and December               2015, even though

CULLERTON did little or no work for Teamsters Joint Council 25 each year.

      8.     It   was further part of the conspiracy that Individual A caused contribution

payments to be sent to the Teamsters Local Union 734 Health and Weifare Fund and the

Teamsters Local Union 734 Pension Fund prirsuant to the participation agreement for

the benefit of CULLERTON, even though Individual A well knew that CULLERTON

was doing iittle or no work for Teamsters Joint Council 25 during the pay periods for

which such contributions were made. These contribution payments were accompanied

by remittance documents that made      it falsely appear that the payments were   made for

approximately four or five weeks'worth of full-time work performed by CULLERTON.

       9.    It   was further part of the conspiracy that CULLERTON used the proceeds

of pa;rments made to him by Teamsters Joint Council 25 to pay personal expenses, such

as his mortgage, utiiities, and groceries, and continued     to accept benefits from the
     Case: 1:19-cr-00623 Document #: 1 Filed: 08/01/19 Page 8 of 18 PageID #:1




Teamsters Local Union 734 Hea\th and Welfare Fund and the Teamsters Local Union

?34 Pension Fund even though CULLERTOIT did            tittle or no work in return for such

payments.

       10. It was further part of the conspiracy that CULLERTON continued to
receive from Teamsters Joint Council 25 payment of fuil-time salary, allowances, and

contributions for health and welfare and pension plan beneflts, even when CULLERTON

attended sessions of the Illinois State Senate and when CULLERTOI{ was otherwise

performing his duties as a Senator in Springfleld, Illinois.

       11.    It   was further part of the conspiracy that CULLERTON repeatedly failed

to respond to efforts by his supervisors at Teamsters Joint Council 25 to contact him and

routinely ignored their requests that he perform the job functions of an organizer,   as was


required of other organizers employed by Teamsters Joint Council25.

       12. It was further part of the conspiracy that Individual A ignored and failed
to act upon repeated complaints made by a supervisory employee of Teamsters Joint

Council25, who advised Individual A that CULLERTON did not show up for work and

did not perform the functions of a fulI-time salaried organizer.

       13. It was further part of the conspiracy that CULLERTON filed Statements
of Economic Interests for calendar years 2013 and 2014 with the Iilinois Secretary of

State.     These statements made     it falsely appear that CULLERTON had received
income each year for legitimately working as an organizer for Teamsters Joint Couneil

25, when   CULLERTON well knew that he was not legitimately employed as an organizet

for Teamsters Joint Council25.
     Case: 1:19-cr-00623 Document #: 1 Filed: 08/01/19 Page 9 of 18 PageID #:1




      14. It was further part of the conspiracy that CULLERTON filed Statements
of Economic Interests for calendar years 2015 and 2016 with the Illinois Secretary of

State. In these statements, CULLERTON                falsely omitted income CULLERTON had

received from Teamsters Joint Council 25in2015 and,2Ol6.

      15.     As a result of the conspiracy, the defendant fraudulently obtained and

misappropriated for his own benefit and the benefit of others (i) approximately $188,320

in salary, allowances, bonuses, and other benefits from Teamsters Joint Council 25 and

its members, (ii) approximately $64,068 in health and weifare plan and pension plan

contributions from Teamsters Joint Council 25 andits members; and (iii) approximately

$21,628   in reimbursed medical claims from Teamsters Local Union           ?34's Health and

Welfare Fund, for    a   total loss of approxima tely $274,066.

       16.    It   was further part of the conspiracy that the conspirators misrepresented,

concealed and hid, caused to be misrepresented, concealed and hidden, and attempted to

misrepresent, conceal and hide acts done in furtherance ofthe conspiracy and the purpose

of those acts done in furtherance of the conspiracy.

                                           Overt Acts

       17. To effect the objects of the conspiracy,                  defendant THOMAS E.

CULLERTON committed and caused to be committed the foliowing overt acts, among

others, in the Northern District of Illinois, Eastern Division and elsewhere:

               a.        On or about January 20,2015, CULLERTON caused to be delivered

by mail an envelope         addressed   to Local     734 Health   & Welfare/Pension,   6643 N.



                                                 I
    Case: 1:19-cr-00623 Document #: 1 Filed: 08/01/19 Page 10 of 18 PageID #:1




Northwest Hrrry, Chicago,   IL   60631, which envelope contained a pension contribution

check for $575 made out to Local 734 Pension.

              b.    on or about February L8, 20L5, CULLERTON              caused     to   be

delivered by mail an envelope addressed to Local734 Health & Welfare/Pension, 6643 N

Northwest Hwy, Chicago,     IL   60631, which envelope contained a health and welfare

contribution check for $1,3?5 made out to Local 73|Health & Welfare.

              c.    On or about March 18,2015, CULLERTON caused to be deiivered

by mail an envelope addressed to Local ?34 Health & Weifare , 6643 N Northeast Hwy,

Chicago,   IL 60631-1360, which envelope contained a health and welfare    contribution

check for $1,100 made out to Local734 Health & Welfare.

              d.    On or about October   IS,IAIS,CULLERTON caused a funds transfer

in the amount of approximately $l,6g2.7g,which funds were credited to account number

**xxx**388 at West Suburban Bank.

              e.     On or about November L3, 2075, CULLERTON caused a funds

transfer in the amount of approximately $1,692.?9;which funds were credited to account

number xxx*x*'<388 at West Suburban Bank.

              f.     On or about December 15, 20L5, CULLERTON caused a funds

transfer in the amount of approximately $1,692.79, which funds were credited to account

number x*x*xxx388 at West Suburban Bank.

              g.     on or about January 15, 2016, CULLERTON            caused   a   funds

transfer in the amount of approximately $1,694.08, which funds were credited to account

number xx*****388 at West Suburban Bank.
                                            10
    Case: 1:19-cr-00623 Document #: 1 Filed: 08/01/19 Page 11 of 18 PageID #:1




             h.      On or about   April 26,2016, CULLERTON submitted and caused to

be submitted to the Office of the Secretary of State of Illinois a signed Statement of

Eeonomie Interests   for calendar year   20L5, which falsely omitted reference   to funds

CULLERTON received from Teamsters Joint Council 25 in2015.

             i.      On or about   April 28,20L7, CULLERTON submitted and caused to

be submitted to the Office of the Secretary of State of Illinois a signed Statement of

Economic Interests for calendar year 20L6, which falsely omitted reference to funds

CULLERTON received from Teamsters Joint Council 25in2016

      All in violation of Title 18, United States Code, Section   3?1.




                                            11
    Case: 1:19-cr-00623 Document #: 1 Filed: 08/01/19 Page 12 of 18 PageID #:1




                         COUNTS TWO THROUGH FORTY

      The SPECIAL DECEMBER 2017 GRAND JURY further charges:

       1.     Paragraph 1 of this indictment is incorporated here.

      Z.      On or about the dates set forth below, at Chicago, in the Northern District

of Iilinois, Eastern Division, and elsewhere,

                              THOMAS E. CULLERTON,

defendant herein, did embezzle, steai, and unlawfully and willfully abstract and convert

to his own use, the moneys, funds, property, and other assets of a labor organization,

namely, Teamsters Joint Council 25, by which he was employed, in the approximate

amounts set forth below:


            COUNT                         DATE                       AMOUNT

             Two                     January 15,2015                 $1,648.63

            Three                    Jarutary 30, 2015               $2,531.83

             Four                   February 13,2015                 $1,648.63

             Five                   February 27,2015                 $1,648.63

             Six                    February 27,2015                 $1,059.14

            Seven                     March 13,2015                   $1,648.63

            Eight                     March 31,20t5                   $1,648.63

             Nine                     March 31,2015                   $1,059.14

             Ten                      April t5,2015                   $1,648.63

            Eleven                    April30,2015                    $1,648.63



                                            L2
Case: 1:19-cr-00623 Document #: 1 Filed: 08/01/19 Page 13 of 18 PageID #:1




     COUNT                       DATE                      AMOUNT

     Twelve                   Aprii 30,2015                 $1,059.14

     Thirteen                  May 15,2015                  $1,648.63

    Fourteen                   May 29,2015                  $t,692.79

     Fifteen                  May 29,2015                   $1,216.34

     Sixteen                  June 15,2015                  $t,692.79

    Seventeen                 June 30,2015                  $t,692.79

     Eighteen                 June 30, 2015                 $1,216.34

     Nineteen                 July 15,2015                  $1,692.79

     Twenty                   July 31, 2015                 $t,692.79

   Twenty-One                 July 31, 2015                 $1,216.34

   Twenty-Two                August 14,20L5                 $1,692.79

  Twenty-Three               August 31,2015                 $L,692.79

  Twenty-Four                August 31,2015                 $1,216.34

   Twenty-Five             September 15,20L5                $L,692.79

   Twenty-Six              September 30, 2015               $t,692.79

  T\venty-Seven            September 30,2015                $1,216.34

  Twenty-Eight               October 15,2015                $1,692.79

   Twenty-Nine               October 30,2015                $t,692.79

      Thirty                 October 30,2015                $1,216.34

    Thirty-One              November 13,2015                $t,692.79

   Thirty-Two               November 30,2015                $t,692.79

                                    13
Case: 1:19-cr-00623 Document #: 1 Filed: 08/01/19 Page 14 of 18 PageID #:1




     COUNT                           DATE                         AMOUNT

   Thirty-Three                November 30,2015                   $1,216.34

   Thirty-Four                 December 15,2015                   $t,692.79

    Thirty-Five                December 15,2015                    $899.44

    Thirty-Six                 December 31, 2015                  $t,692.79

   Thirty-Seven                December 31,2015                   $1,216.34

   Thirty-Eight                 January 15,2016                   $1,694.08

   Thirty-Nine                  January 29,2016                   $1,667.68

       Forty                    January 29,2016                   $1,217.11



  In violation of Title 29, United States Code, Section 501(c).




                                       t4
    Case: 1:19-cr-00623 Document #: 1 Filed: 08/01/19 Page 15 of 18 PageID #:1




                                   COUNT FORTY.ONE

         The SPECIAL DECEMBER 2017 GRAND JIIRY further charges:

         1.     Paragraph 1 of Count One of this indictment is incorporated here.

         2.     Beginning in or around March 2013 and continuing until in or around    April

2016,   at Chicago, in the Northern District of Illinois, Eastern Division, and elsewhere,

                                 THOMAS E. CULLERTON,

defendant herein, in a matter involving a health care benefit program, did knowingly and

willfully falsify, conceal, and cover up by trick, scheme, and device a material fact in

connection with the delivery of and payment for health care benefits, items, and services.

         3.     It   was part of the scheme that CULLERTON sought to obtain health care

benefits through the Teamster Local Union 734 Health and Welfare Fund by falsely

representing himself to the Teamsters Local Union 734 Health and Welfare Fund to be          a


full-time employee of Joint Council 25, andby concealing and covering up that he was in

fact not a full-time employee of Joint Council25.

         4.     It   was further part of the scheme that CULLERTON caused contribution

payments to be sent to the Teamsters Local Union 734 Health and Welfare Fund that

made    it falsely appear that CULLERTON was a full-time employee of Joint Councii       25.

                It was further part of the scheme that CULLERTON submitted or caused

to be submitted to the Teamsters Local Union 734 Health and Welfare Fund heaith care

benefit claims and related paperwork for heaith care services that were provided to

CULLERTON and members of his family, but in doing so, CULLERTON concealed and

covered up that he was not eligible for participation in the Health and Welfare Fund as
                                              15
    Case: 1:19-cr-00623 Document #: 1 Filed: 08/01/19 Page 16 of 18 PageID #:1




an active employee, in that CULLERTON was not regularly scheduled to-work at least

thirty hours per week for Joint Council 25 andin fact did not work thirty hours per week

for Joint Council25.

       6.     It   was further part of the scheme that CULLERTON submitted and

caused to be submitted to medical providers information that made    it appear that he was

employed    by Teamsters Local Union 734 as a "route salesman," and in doing so,
CULLERTON concealed and covered up that he was not eligible for participation in the

Health and Welfare Fund as an active employee, in that CULLERTON was not regularly

scheduled to work at least   thirty hours per week for Teamsters Local Union 734, Joint

Council 25, or any other employer that participated in the Health and Welfare Fund.

      7.      It   was further part of the scheme that CULLERTON obtained payment

for approximately $21,678 in health care benefits, items, and services from the Teamsters

Loeal Union 734 Health and Welfare Fund even though he was not eligible to participate

in the health and welfare plan as an active employee.

       In violation of Title 18, United States Code, Section 1035(aX1).




                                            16
     Case: 1:19-cr-00623 Document #: 1 Filed: 08/01/19 Page 17 of 18 PageID #:1




                               FORFEITURE ALLEGATION

       The SPECIAL DECEMBER 2017 GRAND JURY alleges:

       1.     Upon conviction of an offense in violation of Title 18, United States Code,

Sections 371 and 1035(a)(1), and Title 29, United States Code, Section 501(c), as set forth

in this indictment, defendant THOMAS E. CULLERTON shall forfeit to the United

States of America any property which constitutes and is derived from proceeds traceable

to the offense, as provided in Title 18, United States Code, Sections 981(aX1)(C) and

982(a)(7),and Titie 28, United States Code, Section 2461(c).

       2.     The property to be forfeited includes, but is not limited to, a personal money

judgment in the amount of at least approximately $274,066.

       3.     If any of the property described above,       as a   result of any   act,   or omission by

a defendant: cannot be located upon the exercise ofdue diligence; has been transferred

or sold to, or deposited with,   a   third party; has been placed beyond the jurisdiction of the

Court; has been substantially diminished in value; or has been commingled with other

property which cannot be divided without difficulty, the United States of America shaIl

be entitled to forfeiture of substitute property, including, but not limited to, the following

property, as provided in Title 21, United States Code, Section 853(p): The real property

commonly known      as   L26   North Charles Avenue, Vilta Park, Illinois 60181, legally

described as follows:

              LOT 76 IN F.D. PAYNE'S ADDITION TO VILLA PARI{,
              BEING A SUBDIVISION IN THE SOUTHWEST
              QUARTER OF SECTTON 3, TOWNSHIP 39 NORTH,
              RANGE 11, EAST OF THE THIRD PRINCIPAL

                                                 t7
   Case: 1:19-cr-00623 Document #: 1 Filed: 08/01/19 Page 18 of 18 PageID #:1




           MERIDIAN, ACCORDING TO THE PLAT THEREOF
           RECORDED APRIL 8, L922, AS DOCUMENT 155003, IN
           DUPAGE COUNTY,       ILLINOIS.    PIN:06-03-310-019.


                                           A TRUE BILL:



                                           FOREPERSON




UNITED STATES ATTORI.IEY




                                      18
